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                       MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT
                                         SENTENCE BY A PERSON IN FEDERAL CUSTODY

United States District Court                   Eastern          District of New York
Name (under which you were convicted):                                                                 Docket or Case No.:
                                          Joaquin Archivaldo Guzman Loera                                 09-CR-466 (BMC)
Place of Confinement: ADX, Florence Colorado                                        Prisoner No.: 89914053

UNITED STATES OF AMERICA                                                         Movant (include name under which convicted)
                                                           V.
                                                                                     Joaquin Archivaldo Guzman Loera

                                                              MOTION

    1.    (a) Name and location of court which entered the judgment of conviction you are challenging:
               United States District Court for the Eastern District of New York
               225 Cadman Plaza East
               Brooklyn, NY 11201
                                                                      09-CR-466 (BMC)
          (b) Criminal docket or case number (if you know):

    2.    (a) Date of the judgment of conviction (if you know):         July 18, 2019
          (b) Date of sentencing:        July 18, 2019

    3.    Length of sentence:       Life imprisonment

    4.    Nature of crime (all counts):
           Conducting a continuing criminal enterprise, drug trafficking conspiracies, money laundering,
           and firearms violatoins.




    5.    (a) What was your plea? (Check one)
               (1) Not guilty G X                        (2) Guilty    G                  (3) Nolo contendere (no contest)        G

    6.    (b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment,
          what did you plead guilty to and what did you plead not guilty to?




    6.    If you went to trial, what kind of trial did you have? (Check one)                    Jury GX            Judge only G

    7.    Did you testify at a pretrial hearing, trial, or post-trial hearing?          Yes G                         X
                                                                                                                   No G


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    8.    Did you appeal from the judgment of conviction?             Yes GX               No G

    9.    If you did appeal, answer the following:
          (a) Name of court:        U.S. Court of Appeals, Second Circuit
          (b) Docket or case number (if you know):         19-2239
          (c) Result:     The conviction was affirmed.
          (d) Date of result (if you know):    January 25, 2022
          (e) Citation to the case (if you know): 24 F.4th 144
          (f) Grounds raised:
               (1) that petitioner's indictment violated the doctrine of specialty,
               (2) that petitioner's Fifth and Sixth Amendment rights to present a defense and to have the effective
               assistance of counsel were unconstitutionally restricted by unduly harsh prison conditions, the
               suppression of material information and witnesses by the Government, and an improper protective
               order,
               (3) that evidence of calls and text messages derived from two surveillance operations should have been
               suppressed, and (4) that the court made several improper evidentiary rulings.

          (g) Did you file a petition for certiorari in the United States Supreme Court?     Yes    GX          No G
                If “Yes,” answer the following:
                (1) Docket or case number (if you know):
                (2) Result:     Certiorari was denied.


                (3) Date of result (if you know):      June 6, 2022
                (4) Citation to the case (if you know):
                (5) Grounds raised:

                      The same listed in 9(f) above.




   10.    Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
          concerning this judgment of conviction in any court?
           Yes G         No GX

   11.    If your answer to Question 10 was “Yes,” give the following information:
          (a) (1) Name of court:
                (2) Docket or case number (if you know):
                (3) Date of filing (if you know):




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              (4) Nature of the proceeding:
              (5) Grounds raised:




              (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                      Yes G          No G
              (7) Result:
              (8) Date of result (if you know):
         (b) If you filed any second motion, petition, or application, give the same information:
              (1) Name of court:
              (2) Docket of case number (if you know):
              (3) Date of filing (if you know):
              (4) Nature of the proceeding:
              (5) Grounds raised:




              (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                      Yes G          No G
              (7) Result:
              (8) Date of result (if you know):
         (c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,
         or application?
              (1) First petition:         Yes G          No G
              (2) Second petition:        Yes G          No G
         (d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:




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 12.     For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
         laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
         supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE:               Petitioner Guzman was denied the right to the effective assistance of counsel.


        (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
       Petitioner's counsel provided ineffective assistance by failing to (1) request an in camera inspection of the documents
       pertaining to the Government's specialty waiver, (2) to object to several ex parte motions made by the Government
       concerning material protected under CIPA, or (3) to explore the possibility of a potential plea bargain.

       Regarding counsel's first omission, petitioner previously challenged the district's court determination that he lacked
       standing to contest, as tainted by fraud on the part of American authorities, a post-extradition rule of specialty waiver
       obtained from Mexico that allowed prosecution in Brooklyn instead of Texas or California. as stipulated in the
       extradition request and decree. Notwithstanding the district court's decision barring the defense from inspecting the
       documents presented to Mexico in support of the waiver request, counsel failed to demand an in camera inspection
       of those documents. This omission prejudiced petitioner's rights on appeal, and prevented him from making an
       adequate record in support of his specialty waiver challenge. Similarly, counsel also failed to timely object to the
       Government's several ex parte motions regarding material protected under the Classified Information Procedures
       Act, which later prevented petitioner from mounting a related challenge on appeal. And lastly, despite petitioner's
       unlikely chance of being acquitted, counsel made no effort to secure a favorable via a plea negotiation. The
       cumulative effect of these errors deprived petitioner of fair trial.
         (b) Direct Appeal of Ground One:
              (1) If you appealed from the judgment of conviction, did you raise this issue?
                         Yes G              X
                                        No XXXX
              (2) If you did not raise this issue in your direct appeal, explain why:
                      These claims are based on matters de hors the record.


         (c) Post-Conviction Proceedings:
              (1) Did you raise this issue in any post-conviction motion, petition, or application?
                         Yes G             X
                                        No G
              (2) If you answer to Question (c)(1) is “Yes,” state:
              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court’s decision:
              Result (attach a copy of the court’s opinion or order, if available):



              (3) Did you receive a hearing on your motion, petition, or application?
                         Yes G          No G


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              (4) Did you appeal from the denial of your motion, petition, or application?
                       Yes G          No G
              (5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
                       Yes G          No G


              (6) If your answer to Question (c)(4) is “Yes,” state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court’s decision:
              Result (attach a copy of the court’s opinion or order, if available):



              (7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this
              issue:




GROUND TWO:


         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




         (b) Direct Appeal of Ground Two:
              (1) If you appealed from the judgment of conviction, did you raise this issue?
                       Yes G          No G




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              (2) If you did not raise this issue in your direct appeal, explain why:



         (c) Post-Conviction Proceedings:
              (1) Did you raise this issue in any post-conviction motion, petition, or application?
                       Yes G          No G
              (2) If you answer to Question (c)(1) is “Yes,” state:
              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court’s decision:
              Result (attach a copy of the court’s opinion or order, if available):



              (3) Did you receive a hearing on your motion, petition, or application?
                       Yes G          No G
              (4) Did you appeal from the denial of your motion, petition, or application?
                       Yes G          No G
              (5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
                       Yes G          No G
              (6) If your answer to Question (c)(4) is “Yes,” state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court’s decision:
              Result (attach a copy of the court’s opinion or order, if available):



              (7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this
              issue:




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GROUND THREE:


         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




         (b) Direct Appeal of Ground Three:
              (1) If you appealed from the judgment of conviction, did you raise this issue?
                      Yes G           No G
              (2) If you did not raise this issue in your direct appeal, explain why:



         (c) Post-Conviction Proceedings:
              (1) Did you raise this issue in any post-conviction motion, petition, or application?
                      Yes G           No G
              (2) If you answer to Question (c)(1) is “Yes,” state:
              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court’s decision:
              Result (attach a copy of the court’s opinion or order, if available):



              (3) Did you receive a hearing on your motion, petition, or application?
                      Yes G           No G
              (4) Did you appeal from the denial of your motion, petition, or application?
                      Yes G           No G
              (5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
                      Yes G           No G


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              (6) If your answer to Question (c)(4) is “Yes,” state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court’s decision:
              Result (attach a copy of the court’s opinion or order, if available):



              (7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this
              issue:




GROUND FOUR:


         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




         (b) Direct Appeal of Ground Four:
              (1) If you appealed from the judgment of conviction, did you raise this issue?
                       Yes G          No G
              (2) If you did not raise this issue in your direct appeal, explain why:



         (c) Post-Conviction Proceedings:
              (1) Did you raise this issue in any post-conviction motion, petition, or application?
                       Yes G          No G

              (2) If you answer to Question (c)(1) is “Yes,” state:


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              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court’s decision:
              Result (attach a copy of the court’s opinion or order, if available):



              (3) Did you receive a hearing on your motion, petition, or application?
                       Yes G          No G
              (4) Did you appeal from the denial of your motion, petition, or application?
                       Yes G          No G
              (5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
                       Yes G          No G
              (6) If your answer to Question (c)(4) is “Yes,” state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court’s decision:
              Result (attach a copy of the court’s opinion or order, if available):



              (7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this
              issue:




 13.     Is there any ground in this motion that you have not previously presented in some federal court? If so, which
         ground or grounds have not been presented, and state your reasons for not presenting them:


             Ground One was not previously raised or adjudicated because it is based on matters de hors the record,
             and thus was not fully reviewable on direct appeal.




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 14.     Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the
         you are challenging?       Yes G            No G
         If “Yes,” state the name and location of the court, the docket or case number, the type of proceeding, and the
         issues raised.




 15.     Give the name and address, if known, of each attorney who represented you in the following stages of the
           d ment you are challenging:
         ( ) At the preliminary hearing:


         (b) At the arraignment and plea:


         (c) At the trial:
                         Jeffrey Lichtman, 11 East 44th Street, 501, New York, NY 10017
         (d) At sentencing:


         (e) On appeal:
              Mark Fernich, 800 Third Avenue, 18th Floor, New York, NY 10022
         (f) In any post-conviction proceeding:


         (g) On appeal from any ruling against you in a post-conviction proceeding:




 16.     Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court
         and at the same time?         Yes G           No GX X

 17.     Do you have any future sentence to serve after you complete the sentence for the judgment that you are
         challenging?            Yes G           No GX
         (a) If so, give name and location of court that imposed the other sentence you will serve in the future:



         (b) Give the date the other sentence was imposed:
         (c) Give the length of the other sentence:
         (d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or
         sentence to be served in the future?          Yes G           No G

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 18.     TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
         why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*

         This motion is being filed less than one year after the U.S. Supreme Court denied certiorari on direct review. It is
         therefore timely under 28 U.S.C. 2255.




     * The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) as contained in 28 U.S.C. § 2255,
     paragraph 6, provides in part that:
        A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
        from the latest of –
            (1) the date on which the judgment of conviction became final;
            (2) the date on which the impediment to making a motion created by governmental action in violation of
            the Constitution or laws of the United States is removed, if the movant was prevented from making such a
            motion by such governmental action;
            (3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
            been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
            review; or
            (4) the date on which the facts supporting the claim or claims presented could have been discovered
            through the exercise of due diligence.


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